Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 1 of 35 Page ID #:2145




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      JUSTICE LAUB and DAN KANES
   11
   12                                   UNITED STATES DISTRICT COURT
   13                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14 JUSTICE LAUB and DAN KANES,                      Case No. 2:17-cv-06210-JAK (KSx)
   15                         Plaintiffs,              PLAINTIFF DANIEL KANES’
   16                                                  NOTICE OF MOTION AND
                  v.                                   SPECIAL MOTION TO STRIKE
   17                                                  DEFENDANT NICHOLAS
      NICHOLAS HORBACZEWSKI,                           HORBACZEWSKI’S
   18 DRONE RACING LEAGUE, INC., and                   COUNTERCLAIM PURSUANT TO
      DOES 1 TO 10,                                    CALIFORNIA CODE OF CIVIL
   19                                                  PROCEDURE § 425.16
   20           Defendants.
                                                       Judge: Hon. John A. Kronstadt
   21                                                  Date: April 29, 2019
                                                       Time: 8:30 a.m.
   22                                                  Ctrm.: 10B
   23 NICHOLAS HORBACZEWSKI,                           Action File: July 10, 2017
                                                       Trial Date:   None Set
   24                         Counter-Claimant,
   25             v.
   26
        DANIEL KANES,
   27
                              Counter-Defendant
   28
        2613.000/1361866.10                                          Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 2 of 35 Page ID #:2146




    1            TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2            PLEASE TAKE NOTICE THAT, pursuant to the Court’s Order Re
    3 Stipulation Re Case Schedule (Dkt. No. 101), on April 29, 2019 at 8:30 a.m., or as
    4 soon thereafter as the matter may be heard, in the United States District Court,
    5 Central District of California, located at 350 W. First Street, Courtroom 10B, Los
    6 Angeles, California 90012, before the Honorable John A. Kronstadt, Plaintiff Dan
    7 Kanes will move, and hereby does move, for an order specially striking Defendant
    8 Nicholas Horbaczewski’s Counterclaim pursuant to California Code of Civil
    9 Procedure § 425.16.
   10            Plaintiff Dan Kanes moves to specially strike Defendant Nicholas
   11 Horbaczewski’s Counterclaim on the grounds that it arises from an act in
   12 furtherance of Mr. Kanes’ right of free speech and that Mr. Horbaczewski cannot
   13 demonstrate a probability of prevailing on his Counterclaim for defamation.
   14            This motion is based on this Notice of Motion and Motion, the supporting
   15 memorandum of points and authorities, the pleadings on file in this action, and on
   16 such other written or oral argument or evidence as may be presented on reply and at
   17 or before the time this motion is taken under submission.
   18
   19 DATED: January 18, 2019                   Respectfully submitted,
   20
                                                BARTKO ZANKEL BUNZEL & MILLER
   21                                           A Professional Law Corporation
   22
   23
                                                By:         /s/ Patrick M. Ryan
   24
                                                      Patrick M. Ryan
   25                                                 Attorneys for Plaintiffs
   26                                                 JUSTICE LAUB and DAN KANES

   27
   28
        2613.000/1361866.10                                          Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 3 of 35 Page ID #:2147




    1                                               TABLE OF CONTENTS
                                                                                                                                  Page
    2
        I.       INTRODUCTION ............................................................................................. 1
    3
    4 II.        FACTUAL AND PROCEDURAL BACKGROUND ...................................... 2

    5 III.       LEGAL STANDARD ....................................................................................... 5

    6 IV.        ARGUMENT .................................................................................................... 7
    7            A.           Prong One: Kanes’ Allegedly Defamatory Conduct is Protected
                              by California’s Anti-SLAPP Statute ....................................................... 8
    8
                              1.      Wikipedia Is a Public Forum ........................................................ 8
    9
   10                         2.      DRL Is an Issue of Public Interest ................................................ 9

   11                         3.      The Gravamen of Horbaczewski’s Counterclaim is the
                                      Instant Suit .................................................................................. 12
   12
                 B.           Prong Two: Horbaczewski Cannot Demonstrate a Likelihood of
   13                         Succeeding on His Defamation Counterclaim ...................................... 14
   14                         1.      Kanes’ Edits to the DRL Wikipedia Entry Were Not
   15                                 Defamatory ................................................................................. 14

   16                                 a.       The Edited Wikipedia Text was not Defamatory ............. 14

   17                                 b.       The Law.com Article Was Not Defamatory .................... 17
   18                         2.      Kanes Is Immune From Liability for Linking the Law.com
                                      Article ......................................................................................... 19
   19
                              3.      Horbaczewski Is a Limited Purpose Public Figure Who
   20                                 Cannot Prove Kanes’ Edits to the Wikipedia Entry Were
   21                                 Made With Actual Malice as Required to Establish a
                                      Claim for Defamation ................................................................. 21
   22
                 C.           Kanes Is Statutorily Entitled to His Attorneys’ Fees and Costs ........... 25
   23
        V.       CONCLUSION ............................................................................................... 25
   24
   25
   26
   27
   28
        2613.000/1361866.10                                             i                         Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 4 of 35 Page ID #:2148




    1                                          TABLE OF AUTHORITIES
    2                                                                                                                 Page(s)
    3
         Cases
    4
         Ampex Corp. v. Cargle
    5      128 Cal.App.4th 1569 (Cal. Ct. App. 2005)..................................................... 9, 12
    6
      Annette F. v. Sharon S.
    7   119 Cal.App.4th 1146 (Cal. Ct. App. 2004)......................................................... 22
    8 Barnes-Hind, Inc. v. Sup. Ct.
    9   181 Cal.App.3d 377 (Cal. Ct. App. 1986) ...................................................... 15, 17
   10 Barrett v. Rosenthal
        40 Cal.4th 33 (Cal. 2006) ........................................................................... 8, 19, 20
   11
   12 Beilenson v. Sup. Ct.
         44 Cal.App.4th 944 (Cal. Ct. App. 1996)............................................................... 6
   13
   14 Briggs v. Eden Council for Hope & Opportunity
         19 Cal.4th 1106 (Cal. 1999) ................................................................................... 5
   15
      Chapman v. Journal Concepts, Inc.
   16    528 F.Supp.2d 1081 (D. Haw. 2007) ................................................................... 23
   17
      Church of Scientology v. Wollersheim
   18    42 Cal.App.4th 628 (Cal. Ct. App. 1996)............................................................. 10
   19 ComputerXpress, Inc. v. Jackson
   20   93 Cal.App.4th 993 (Cal. Ct. App. 2001)......................................................... 8, 11
   21 Curtis Publishing Co. v. Butts
   22   388 U.S. 130 (1967) ............................................................................................. 22

   23 Damon v. Ocean Hills Journalism Club
           85 Cal.App.4th 468 (Cal. Ct. App. 2000)............................................................... 8
   24
   25 Erie Railroad Co. v. Tompkins
           304 U.S. 64 (1938) ................................................................................................. 6
   26
      Friedman v. DirecTV
   27      262 F.Supp.3d 1000 (C.D. Cal. 2015) .................................................................. 10
   28
      2613.000/1361866.10                                   ii                         Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 5 of 35 Page ID #:2149




    1 Gertz v. Robert Welch, Inc.
         418 U.S. 323 (1974) ....................................................................................... 21, 22
    2
    3 Global Telemedia Int’l, Inc. v. Doe
         132 F.Supp.2d 1261 (C.D. Cal. 2001) ........................................................... passim
    4
      Harte-Hanks Commun., Inc. v. Connaughton
    5
         491 U.S. 657 (1989) ............................................................................................. 21
    6
      Hecimovich v. Encinal Sch. Parent Teacher Org.
    7    203 Cal.App.4th 450 (Cal. Ct. App. 2012)............................................................. 9
    8
      J-M Manufacturing Co., Inc. v. Phillips & Cohen LLP
    9    247 Cal.App.4th 87 (Cal. Ct. App. 2016)...................................................... passim
   10 Jacob B. v. County of Shasta
   11    40 Cal.4th 948 (Cal. 2007) ................................................................................... 18
   12 Kashian v. Harriman
   13   98 Cal.App.4th 892 (Cal. Ct. App. 2002)......................................................... 7, 13

   14 U.S. ex rel Klein v. Omeros Corp.
         897 F.Supp.2d 1058 (W.D. Wa. 2012) ................................................................. 20
   15
   16 Knievel v. ESPN
         393 F.3d 1068 (9th Cir. 2005) ........................................................................ 14, 18
   17
      Kronemyer v. Internet Movie Database, Inc.
   18    150 Cal.App.4th 941 (Cal. Ct. App. 2007)......................................................... 8, 9
   19
      Lin v. Rohm and Haas Co.
   20    293 F.Supp.2d 505 (E.D. Pa. 2003)................................................................ 15, 16
   21 MacLeod v. Tribune Pub. Co.
   22   52 Cal.2d 536 (Cal. 1959) ........................................................................ 15, 17, 18
   23 McGarry v. Univ. of San Diego
   24   154 Cal.App.4th 97 (Cal. Ct. App. 2007)....................................................... 17, 23

   25 Navellier v. Sletten
           29 Cal.4th 82 (Cal. 2002) ................................................................................. 7, 13
   26
   27 New York Times Co. v. Sullivan
           376 U.S. 254 (1964) ....................................................................................... 21, 24
   28
      2613.000/1361866.10                                  iii                        Case No. 2:17-cv-06210-JAK (KSx)
                        KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                      PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 6 of 35 Page ID #:2150




    1 New.Net, Inc. v. Lavasoft
        356 F.Supp.2d 1090 (C.D. Cal. 2004) .................................................................... 8
    2
    3 Newsham v. Lockheed Missiles & Space Co.
        190 F.3d 963 (9th Cir. 1999) .................................................................................. 6
    4
      Norse v. Henry Holt and Co.
    5
        991 F.2d 563 (9th Cir. 1993) .................................................................... 14, 15, 18
    6
      Nygard, Inc. v. Uusi-Kertula
    7   159 Cal.App.4th 1027 (Cal. Ct. App. 2008)........................................................... 9
    8
      Oasis West Realty, LLC v. Goldman
    9   51 Cal.4th 811 (Cal. 2011) ..................................................................................... 7
   10 Okorie v. Los Angeles Unified School District
   11   14 Cal.App.5th 574 (Cal. Ct. App. 2017)............................................... 6, 7, 12, 13
   12 In re Philadelphia Newspapers, LLC
   13     690 F.3d 161 (3rd Cir. 2012) ................................................................................ 20

   14 Ramona Unified School Dist. v. Tsiknas
        135 Cal.App.4th 510 (Cal. Ct. App. 2005)........................................................... 13
   15
   16 Reader’s Digest Assoc., Inc. v. Sup. Ct. of Marin County
        37 Cal.3d 244 (Cal. 1984) .................................................................. 21, 22, 24, 25
   17
      Robles v. Chalilpoyil
   18   181 Cal.App.4th 566 (Cal. Ct. App. 2010)............................................................. 5
   19
      Rudnick v. McMillan
   20   25 Cal.App.4th 1183 (Cal. Ct. App. 1994)........................................................... 22
   21 Rusheen v. Cohen
   22   37 Cal.4th 1048 (Cal. 2006) ............................................................................. 7, 18
   23 S.B. Beach Properties v. Berti
   24    39 Cal.4th 374 (2006) ....................................................................................... 7, 25

   25 Salyer v. Southern Poverty Law Center, Inc.
           701 F.Supp.2d 912 (W.D. Ky. 2009) ................................................................... 21
   26
   27 Shively v. Bozanich
           31 Cal.4th 1230 (Cal. 2003) ................................................................................. 20
   28
      2613.000/1361866.10                              iv                         Case No. 2:17-cv-06210-JAK (KSx)
                        KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                      PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 7 of 35 Page ID #:2151




    1 Silvester v. ABC, Inc.
          650 F.Supp. 766 (S.D. Fla. 1986) ......................................................................... 23
    2
    3 St. Amant v. Thompson
          390 U.S. 727 (1968) ............................................................................................. 24
    4
      Sundance Image Tech., Inc. v. Cone Editions Press, Ltd.
    5
          Case No. 02-CV-2258, 2007 WL 935703 (S.D. Cal., Mar. 7, 2007) ................... 20
    6
      Troy Group v. Tilson
    7     364 F.Supp.2d 1149 (C.D. Cal. 2005) ...................................................... 11, 12, 18
    8
      Vess v. Ciba-Geigy Corp USA
    9     317 F.3d 1097 (9th Cir. 2003) .......................................................................... 7, 25
   10 Statutes
   11
      47 United States Code
   12    § 230(a)(2) ............................................................................................................ 19
   13    § 230(b)(3) ............................................................................................................ 19
         § 230(c)(1) ...................................................................................................... 19, 20
   14    § 230(e)(3) ............................................................................................................ 19
   15 California Civil Code
   16    § 45 ........................................................................................................... 14, 15, 20
         § 47(b) ................................................................................................................... 18
   17
   18 California Code of Civil Procedure
         § 425.16 ......................................................................................................... passim
   19    § 425.16(a) .................................................................................................... 6, 7, 14
   20    § 425.16(b)(1) ......................................................................................................... 6
         § 425.16(c) ........................................................................................................ 7, 25
   21    § 425.16(e) .............................................................................................................. 8
   22
   23
   24
   25
   26
   27
   28
         2613.000/1361866.10                                           v                        Case No. 2:17-cv-06210-JAK (KSx)
                          KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                        PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 8 of 35 Page ID #:2152




    1 I.      INTRODUCTION
    2         The Court should strike Defendant Nicholas Horbaczewski’s
    3 (“Horbaczewski”) Counterclaim against Plaintiff Dan Kanes (“Kanes”) pursuant to
    4 California’s anti-SLAPP statute and award Kanes his attorneys’ fees and costs in
    5 connection with this motion.
    6         Kanes satisfies the first prong of the anti-SLAPP analysis that the allegedly
    7 defamatory statements relate to protected activity. Kanes’ edits to the Wikipedia
    8 page for Defendant Drone Racing League (“DRL”) are protected activity and relate
    9 to the allegations made in this litigation concerning the founding of the DRL.
   10 Wikipedia constitutes a public forum and Kanes’ edits relate to an issue of public
   11 interest: the DRL, which is a popular sports league that undertakes extensive efforts
   12 to promote itself and is broadcast on major television networks, including ESPN.
   13 Horbaczewski is the CEO and one of the founders of the DRL, who has argued
   14 before this Court that statements relating to the DRL relate to him.
   15         Because Kanes satisfies prong one of the anti-SLAPP analysis, the burden
   16 shifts to Horbaczewski in prong two to establish that his Counterclaim is likely to
   17 succeed on the merits. Horbaczewski cannot satisfy prong two because his
   18 Counterclaim is meritless and fails for multiple reasons. First, none of the
   19 statements Kanes made in the edited Wikipedia entry are reasonably subject to a
   20 defamatory meaning as a matter of law. Second, Kanes cannot be held liable for the
   21 third-party law.com article linked in the Wikipedia page pursuant to Federal statute
   22 immunizing such conduct. Third, Horbaczewski is a public figure who cannot
   23 establish that Kanes’ edits to the Wikipedia Entry were made with actual malice,
   24 even if these statements are reasonably subject to a defamatory meaning.
   25         Because the conduct Horbaczewski complains about is protected under the
   26 anti-SLAPP statute, and because Horbaczewski cannot demonstrate a likelihood of
   27 prevailing on his Counterclaim, the Court should strike the Counterclaim in its
   28 entirety, and award Kanes his attorneys’ fees and costs accordingly.
      2613.000/1361866.10                       1                Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 9 of 35 Page ID #:2153




    1 II.        FACTUAL AND PROCEDURAL BACKGROUND
    2            The instant case was originally filed nearly eighteen months ago in the
    3 Superior Court of California before being removed to this Court. Dkt. No. 1 at ¶ 1.
    4 On July 19, 2018, plaintiffs Justice Laub (“Laub”) and Kanes (collectively,
    5 “Plaintiffs”) filed the operative pleading, the Third Amended Complaint (“TAC”)
    6 against defendants the DRL and Horbaczewski (collectively, “Defendants”). Dkt.
    7 No. 62. In relevant part, Plaintiffs allege in their TAC that they had “conceived of
    8 and began developing ideas for a televised drone racing league in 2014, long before
    9 Horbaczewski had ever even flown a drone or knew anything about them.” Dkt.
   10 No. 62 at ¶ 2. Plaintiffs further allege that Horbaczewski, through various false
   11 promises to Plaintiffs, had induced them to disclose their ideas for and assign their
   12 rights to what would ultimately be incorporated as the DRL, and excluded them
   13 from sharing in any ownership stake in the DRL. Dkt. No. 62, ¶¶ 3, 16-53. Instead,
   14 Horbaczewski portrays himself as the sole founder of the DRL in media profiles,
   15 press releases, and interviews about or concerning the DRL. Dkt. No. 62, ¶ 4; see
   16 also Dkt. No. 106-6 (Business Insider article); Dkt. No. 106-7 at 17 (Crain article);
   17 Dkt. No. 106-8 at 3 (Techcrunch article); Dkt. No. 106-9 at 3 (Wall Street Journal
   18 article).
   19            The DRL promotes its brand and its drone racing events around the world.
   20 Dkt. No. 90 (Counterclaim), ¶ 1. According to the DRL, it is “a private company
   21 and the premier drone racing league with events broadcast worldwide. A sports and
   22 media company, DRL combines world-class pilots, iconic locations, and proprietary
   23 technology to create engaging drone racing content with mass appeal.” Dkt. No. 90,
   24 ¶ 1. The DRL’s drone races have been broadcast by mainstream sports media
   25 companies, including ESPN, Sky Sports, and ProSiebenSat.1. Dkt. No. 106-5 (DRL
   26 Wikipedia page) at 3; see also Fraresso Decl.1, Ex. A (Digiday article)
   27
        1
            “Fraresso Decl.” refers to the Declaration of Joseph J. Fraresso In Support of
   28
        2613.000/1361866.10                          2                Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 10 of 35 Page ID #:2154




    1 (“Horbaczewski said that in 2017, 55 million people worldwide watched the
    2 inaugural DRL World Championship Season on TV while 100 million watched
    3 online, numbers he expects to increase in 2018.”). Further, the DRL’s investors
    4 include large media and sports companies with significant broadcast audiences, such
    5 as MGM Television, WWE, Sky, and Liberty Media. Dkt. No. 106-5 at 2-3; see also
    6 Dkt. No. 90, ¶ 40 (“DRL announced that it had completed a round of funding in
    7 which it received $20 million in private placement led by a number of significant
    8 telecommunications and media companies.”). As of 2018, the DRL had millions of
    9 shares spread amongst its investors including, individuals, venture capital funds, and
   10 broadcast media corporations. Fraresso Decl., Ex. B. The DRL counts as its
   11 “Partners & Sponsors” companies such as Cox Media, Disney XD, and Fox Sports.
   12 Fraresso Decl., Ex. C (DRL webpage). The DRL relies on a mix of traditional press
   13 releases, media appearances, and social media presence to promote itself and its
   14 races. For example, the DRL boasts over 34,000 followers on Twitter2; over 1.4
   15 million followers on Facebook3; over 130,000 followers on Instagram4; and nearly
   16 100,000 subscribers on its dedicated YouTube channel5. The DRL, via its “Press”
   17 page, provides links to over 100 articles and videos from publications such as CNN,
   18 the New York Times, ABC News, Reuters, Forbes, and Wired. Fraresso Decl.,
   19 Ex. H (https://thedroneracingleague.com/press/).
   20         On November 19, 2018, Horbaczewski filed a Counterclaim against Kanes
   21
   22
      Plaintiff Daniel Kanes’ Special Motion to Strike Defendant Nicholas
   23 Horbaczewski’s Counterclaim Pursuant to California Code of Civil Procedure
   24 § 425.16, filed concurrently herewith.
      2
        Fraresso Decl., Ex. D (https://twitter.com/droneraceleague).
   25
      3
        Fraresso Decl., Ex. E (https://www.facebook.com/thedroneracingleague/).
   26
      4
        Fraresso Decl., Ex. F (https://www.instagram.com/thedroneracingleague/).
   27 5
        Fraresso Decl., Ex. G (https://www.youtube.com/thedroneracingleague).
   28
      2613.000/1361866.10                        3               Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 11 of 35 Page ID #:2155




    1 for defamation per se based on allegations that Kanes had edited a Wikipedia6 entry
    2 for the DRL (the “Wikipedia Entry”). Kanes edited the Wikipedia Entry to include
    3 Kanes and Laub as the DRL’s founders alongside Horbaczewski, and added a
    4 hyperlink to a law.com article written by Scott Graham about this litigation in a
    5 footnote. See Dkt. No. 90, ¶ 47; Dkt. No. 90-1 at 2-37; Dkt. No. 90-2 (Law.com
    6 article). Kanes does not dispute having edited the Wikipedia Entry, but does dispute
    7 that such edits could reasonably be found to be defamatory in any way. See Dkt.
    8 No. 99 (Kanes’ Motion to Dismiss Counterclaim) at 10-19; Dkt. No. 106-3
    9 (Plaintiffs’ Responses to Defendants’ First Set of Interrogatories) at 13. Neither
   10 Laub nor Kanes authored or published the footnoted law.com article, and
   11 Horbaczewski does not allege otherwise. Dkt. No. 90-2; Dkt. No. 99. According to
   12 Horbaczewski, “the [DRL] Wikipedia entry received over 12,000 page views” over
   13 a particular seven-month period. Dkt. No. 90, ¶ 53.
   14            Horbaczewski further alleges that:
   15                   55. [. . .] Mr. Kanes edited the Wikipedia entry for the Drone Racing
                 League as described above, to state that he and Mr. Laub were cofounders of
   16            DRL, that Mr. Kanes “wrote and created the original concept” for DRL, and
   17            that “Horbaczewski first heard of the concept of Drone Racing League from
                 Dan Kanes, who had written a detailed pitch deck for the league.” [. . .]
   18
                       56. These statements were false, and Mr. Kanes knew or reasonably
   19            should have known that the statements were false. Mr. Kanes deliberately
                 linked these statements via a footnote to an article on law.com about this
   20            lawsuit which, as described above and in Exhibit B includes Plaintiffs’
   21
        6
   22     Wikipedia is a self-described “… web-based, free encyclopedia based on a model
        of openly editable and viewable content… Overall, Wikipedia comprises more than
   23   40 million articles in 301 different languages and by February 2014 it had reached
   24   18 billion page views and nearly 500 million unique visitors per month.” See Dkt.
        No. 106-4 at 2 (Wikipedia’s wiki page). Wikipedia’s “open-door policy of allowing
   25   anyone to edit had made Wikipedia the biggest and possibly the best encyclopedia
   26   in the world.” Id. Indeed, Horbaczewski characterizes Wikipedia as “the internet’s
        encyclopedia.” Dkt. No. 106 (Horbaczewski’s Opposition to Kanes’ Motion to
   27   Dismiss Counterclaim) at 5:10-11.
   28   7
            Page citations to docket entries will use the file-stamped page numbering.
        2613.000/1361866.10                           4                Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 12 of 35 Page ID #:2156




    1         accusations that Mr. Horbaczewski was “secretly cutting them out of the
              company,” “intended to steal plaintiffs’ ideas and the entire DRL for
    2         himself,” and engaged in “a cynical plot to steal their ideas for a televised
    3         drone racing league, claim all the credit for himself, and cheat them out of
              their rightful ownership of two-thirds of the Drone Racing League.”
    4
    5 Dkt. No. 90, ¶¶ 55-56.
    6         Further, Horbaczewski takes the position that statements involving the DRL
    7 “can reasonably be viewed as concerning him” because Horbaczewski is the DRL’s
    8 CEO and founder. Dkt. No. 106 (Horbaczewski’s Opposition to Kanes’ Motion to
    9 Dismiss Counterclaim) at 18:15-18.
   10         On November 27, 2018, defendants the DRL and Horbaczewski deposed
   11 Kanes, and questioned him about editing the Wikipedia Entry. Fraresso Decl., Ex. I
   12 (Nov. 27, 2018 Kanes Dep. Tr. excerpts).
   13         Kanes’ counsel attempted in good faith to meet and confer with
   14 Horbaczewski’s counsel concerning the Counterclaim’s violation of the anti-SLAPP
   15 statute. The meet-and-confer efforts were unsuccessful and Kanes was forced to file
   16 this motion. Fraresso Decl., ¶ 11; Ex. J.
   17 III. LEGAL STANDARD
   18         The California Legislature enacted Code of Civil Procedure section 425.16—
   19 the “anti-SLAPP” statute—to combat “a disturbing increase” in Strategic Lawsuits
   20 Against Public Participation (“SLAPPs”). Briggs v. Eden Council for Hope &
   21 Opportunity, 19 Cal.4th 1106, 1109 n.1 (Cal. 1999). “A SLAPP is a meritless suit
   22 filed primarily to chill the defendant’s exercise of First Amendment rights.” Robles
   23 v. Chalilpoyil, 181 Cal.App.4th 566, 572 (Cal. Ct. App. 2010).
   24         Section 425.16 allows a SLAPP defendant “to dismiss a lawsuit if the alleged
   25 bad acts arose from his or her exercise of free speech ‘in connection with a public
   26 issue’ and if the [SLAPP] plaintiff cannot show a probability of success on the
   27 claims.” Global Telemedia Int’l, Inc. v. Doe, 132 F.Supp.2d 1261, 1265 (C.D. Cal.
   28 2001) (finding disputed speech was issue of public interest and granting motion).
      2613.000/1361866.10                      5                 Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 13 of 35 Page ID #:2157




    1 The Legislature dictated that “this section shall be construed broadly.” Cal. Code of
    2 Civ. Proc. § 425.16(a).
    3         The Ninth Circuit recognizes that the anti-SLAPP statute constitutes
    4 substantive law under the doctrine of Erie Railroad Co. v. Tompkins, 304 U.S. 64
    5 (1938); thus, the statute applies to all cases arising under California law that are
    6 litigated in federal court. Newsham v. Lockheed Missiles & Space Co., 190 F.3d
    7 963, 972-973 (9th Cir. 1999).
    8         The anti-SLAPP statute invokes a two-step analysis. First, the SLAPP
    9 defendant must establish that the complained-of conduct arises from an act in
   10 furtherance of the SLAPP defendant’s rights of petition or free speech in connection
   11 with a public issue; this is the first prong of the test. Id.; Cal. Code of Civ. Proc.
   12 § 425.16(b)(1). This requirement is satisfied if the suit “potentially impairs the right
   13 of free speech.” Beilenson v. Sup. Ct., 44 Cal.App.4th 944, 950 (Cal. Ct. App.
   14 1996). In determining whether the anti-SLAPP statute applies, the Court determines
   15 whether the principal thrust or gravamen of the plaintiff’s cause of action is based
   16 on protected activity. Okorie v. Los Angeles Unified School District, 14 Cal.App.5th
   17 574, 591 (Cal. Ct. App. 2017) (internal quotations omitted). Second, if the defendant
   18 demonstrates that the SLAPP plaintiff’s claim arises from protected activity, the
   19 burden shifts to the SLAPP plaintiff to demonstrate the probability of succeeding on
   20 the merits of the claim. Newsham, 190 F.3d at 971; Cal. Code of Civ. Proc.
   21 § 425.16(b)(1).
   22         As to the first prong of the test, the anti-SLAPP statute protects any “act in
   23 furtherance of a person’s right of petition or free speech under the United States or
   24 California Constitution in connection with public issue” which includes “any written
   25 or oral statement or writing made in a place open to the public or a public forum in
   26 connection with an issue of public interest.” Okorie, 14 Cal.App.5th at 591. In
   27 determining whether a statement or writing is “in connection with an issue of public
   28 interest,” courts have considered factors such as whether a party has made itself a
      2613.000/1361866.10                        6               Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 14 of 35 Page ID #:2158




    1 matter of public interest by means of numerous press releases. Global Telemedia,
    2 132 F.Supp.2d at 1265. Whether something is an issue of public interest must be
    3 construed broadly. Cal. Code of Civ. Proc. § 425.16(a).
    4         The second prong of the anti-SLAPP analysis, in which the burden of proof
    5 shifts to the SLAPP plaintiff, has been described as a “summary-judgment-like”
    6 procedure, where a court must determine whether the SLAPP plaintiff’s “complaint
    7 is both legally sufficient and supported by a sufficient prima facie showing of facts
    8 to sustain a favorable judgment if the evidence submitted by the plaintiff is
    9 credited.” Rusheen v. Cohen, 37 Cal.4th 1048, 1056 (Cal. 2006) (citations omitted);
   10 see Okorie, 14 Cal.App.5th at 590. At this stage, the Court does not weigh evidence
   11 or resolve conflicting factual claims, but accepts the plaintiff’s evidence as true,
   12 evaluating the defendant’s showing only to determine if it defeats the plaintiff’s
   13 claim as a matter of law. Oasis West Realty, LLC v. Goldman, 51 Cal.4th 811, 819-
   14 820 (Cal. 2011) (citations omitted). Courts consider only admissible evidence.
   15 Kashian v. Harriman, 98 Cal.App.4th 892, 906 (Cal. Ct. App. 2002).
   16         A claim that satisfies both prongs of the anti-SLAPP analysis—“i.e., that
   17 arises from protected speech or petitioning and lacks even minimal merit”—will be
   18 stricken under the statute. Okorie, 14 Cal.App.5th at 591 (quoting Navellier v.
   19 Sletten, 29 Cal.4th 82, 89 (Cal. 2002)) (emphasis in original).
   20         The anti-SLAPP statute dictates that “a defendant who is the ‘prevailing
   21 [party] on’ such a motion is ‘entitled to recover his attorney’s fees and costs.’” S.B.
   22 Beach Properties v. Berti, 39 Cal.4th 374, 377 (2006) (quoting Cal. Code of Civ.
   23 Proc. § 425.16(c)); Vess v. Ciba-Geigy Corp USA, 317 F.3d 1097, 1110-1111 (9th
   24 Cir. 2003) (affirming district court’s award of attorneys’ fees to prevailing SLAPP
   25 defendants, and awarding costs on appeal accordingly).
   26 IV.     ARGUMENT
   27         Kanes’ alleged misconduct involved a public forum (Wikipedia) and
   28 concerned a matter of public interest (the DRL and its founding), and is therefore
      2613.000/1361866.10                        7               Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 15 of 35 Page ID #:2159




    1 protected under California’s anti-SLAPP statute. Horbaczewski’s Counterclaim fails
    2 for three separate reasons: (1) Kanes’ edits to the Wikipedia page in question, with
    3 or without the law.com article, are not reasonably subject to a defamatory meaning
    4 as a matter of law; (2) Kanes is immune from liability for linking to the law.com
    5 article pursuant to Federal statute and cannot be held liable for its contents; and
    6 (3) Horbaczewski is a limited purpose public figure who cannot demonstrate by
    7 clear and convincing evidence that Kanes’ edits were made with actual malice.
    8 Accordingly, the Counterclaim must be stricken pursuant to section 425.16 and
    9 Kanes should be awarded his attorneys’ fees and costs in bringing this motion.
   10        A.     Prong One: Kanes’ Allegedly Defamatory Conduct is Protected by
                    California’s Anti-SLAPP Statute
   11
   12        To be protected under the anti-SLAPP statute, a defendant must demonstrate
   13 that (1) the allegedly wrongful statements occurred in a public forum, and (2) that
   14 the statements concerned public interest. Cal. Code of Civ. Proc. § 425.16(e).
   15               1.     Wikipedia Is a Public Forum
   16        A public forum “includes a communication vehicle that is widely distributed
   17 to the public and contains topics of public interest, regardless whether the message
   18 is ‘uninhibited’ or ‘controlled.’” Damon v. Ocean Hills Journalism Club, 85
   19 Cal.App.4th 468, 478 (Cal. Ct. App. 2000) (homeowner’s association newsletter
   20 deemed a public forum for purposes of anti-SLAPP statute). Under its plain
   21 meaning, a public forum is not limited to a physical setting, but also includes other
   22 forms of public communication.” Id. at 476. For this reason, “websites accessible to
   23 the public are ‘public forums’ for purposes of the anti-SLAPP statute.” Kronemyer
   24 v. Internet Movie Database, Inc., 150 Cal.App.4th 941, 950 (Cal. Ct. App. 2007)
   25 (citing Barrett v. Rosenthal, 40 Cal.4th 33, 41 n.4 (Cal. 2006)); accord
   26 ComputerXpress, Inc. v. Jackson, 93 Cal.App.4th 993, 1006-1007 (Cal. Ct. App.
   27 2001) (publicly accessible website qualified as a public forum); New.Net, Inc. v.
   28 Lavasoft, 356 F.Supp.2d 1090, 1107-1108 (C.D. Cal. 2004) (“[C]ourts have
      2613.000/1361866.10                    8               Case No. 2:17-cv-06210-JAK (KSx)
                  KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 16 of 35 Page ID #:2160




    1 uniformly held or, deeming the proposition obvious, simply assumed that internet
    2 venues to which members of the public have relatively easy access constitute a
    3 ‘public forum’ or a place ‘open to the public’ within the meaning of section
    4 425.16.”); Ampex Corp. v. Cargle, 128 Cal.App.4th 1569, 1576 (Cal. Ct. App.
    5 2005)(internet message boards were public forums).
    6         As a website “accessible to the public,” Wikipedia constitutes a public forum
    7 for purposes of section 425.16. See, e.g., Kronemyer, 150 Cal.App.4th at 950.
    8 Wikipedia is known widely for allowing the type of public participation (i.e.,
    9 contributing to the millions of articles found on the site) contemplated by section
   10 425.16. Indeed, “Wikipedia comprises more than 40 million articles in 301 different
   11 languages and by February 2014 it had reached 18 billion page views and nearly 500
   12 million unique visitors per month.” Dkt. No. 106-4 at 2 (Wikipedia’s wiki page).
   13 Wikipedia’s “open-door policy of allowing anyone to edit had made Wikipedia the
   14 biggest and possibly the best encyclopedia in the world.” Id. Accordingly, Kanes’
   15 edits to the Wikipedia Entry were made on a public forum.
   16                2.     DRL Is an Issue of Public Interest
   17         “Like the SLAPP statute itself, the question whether something is an issue of
   18 public interest must be construed broadly.” Hecimovich v. Encinal Sch. Parent
   19 Teacher Org., 203 Cal.App.4th 450, 464 (Cal. Ct. App. 2012). “[A]ny issue in which
   20 the public is interested” qualifies—“the issue need not be ‘significant’… it is
   21 enough that it is one in which the public takes interest.” Nygard, Inc. v. Uusi-
   22 Kertula, 159 Cal.App.4th 1027, 1042 (Cal. Ct. App. 2008) (emphasis in original).
   23         The court must consider various factors, such as the conduct of the parties and
   24 the content of the speech at issue, to determine whether something is “in connection
   25 with a public issue.” See, e.g., Global Telemedia, 132 F.Supp.2d at 1265-1266
   26 (considering size and media presence of plaintiff company in finding that
   27 defendants’ Internet postings were “in connection with a public issue”). Whether a
   28 party has “inserted itself into the public arena and made itself a matter of public
      2613.000/1361866.10                          9               Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 17 of 35 Page ID #:2161




    1 interest” is informed by whether such party has promoted itself through “numerous
    2 press releases.” Id. (finding that company with the potential to impact market sectors
    3 was of public interest, “particularly so when the company voluntarily trumpets its
    4 good news through the media in order to gain the attention of current and
    5 prospective investors.”). Other examples of matters of public interest “are product
    6 liability suits, real estate or investment scams, etc.” Church of Scientology v.
    7 Wollersheim, 42 Cal.App.4th 628, 650-651 (Cal. Ct. App. 1996) (finding that
    8 plaintiff organization was a matter of public interest, “as evidenced by media
    9 coverage and the extent of the [organization’s] membership and assets.”). Matters of
   10 public interest may include “activities that involve private persons and entities,
   11 especially when a large powerful organization may impact the lives of many
   12 individuals.” Wollersheim, 42 Cal.App.4th at 650.
   13            The public interest requirement extends as a matter of law to speech
   14 concerning the creation and promotion of new sports leagues and related ventures.
   15 In Friedman v. DirecTV, 262 F.Supp.3d 1000 (C.D. Cal. 2015), the court granted
   16 the defendant’s anti-SLAPP motion finding that the plaintiff’s suit, which alleged
   17 that the defendant improperly used “plaintiffs’ ideas” in the creation of a television
   18 channel focused on fantasy sports constituted “an issue of public interest” because
   19 of the “public interest in fantasy football and fantasy sports.” Id. at 1004. Here, the
   20 record not only demonstrates a similar public interest in drone racing, it also shows
   21 that Horbaczewski and the DRL went to great efforts to cultivate such interest.
   22            Horbaczewski equates himself with the DRL and argues that statements about
   23 the DRL also relate to him. Dkt. 106 (Horbaczewski’s Opposition to Kanes’ Motion
   24 to Dismiss) at 18:8-18 (Horbaczewski “is the founder and CEO of DRL … and even
   25 if the statements could be construed as being about the company they can
   26 reasonably be viewed as concerning him.” Id. at 18:15-18.) Thus, the DRL’s efforts
   27 to promote itself are applicable to Horbaczewski in his capacity as CEO and one of
   28 the founders of the DRL.
        2613.000/1361866.10                          10              Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 18 of 35 Page ID #:2162




    1          The DRL and Horbaczewski promote themselves extensively through various
    2 traditional and social media. The DRL posts links to over 100 articles and videos
    3 from established news organizations on its “Press” page, many of which articles
    4 identify Horbaczewski as the DRL’s founder and CEO. See, e.g., Fraresso Decl.,
    5 Ex. H (https://thedroneracingleague.com/press/); see also Dkt. No. 106-6 (Business
    6 Insider article); Dkt. No. 106-7 at 17 (Crain article); Dkt. No. 106-8 at 3
    7 (Techcrunch article); Dkt. No. 106-9 at 3 (Wall Street Journal article). The DRL’s
    8 social media presence is also substantial, and the company boasts a significant
    9 following across a variety of social media, counting over 1.4 million followers on
   10 Facebook, over 130,000 followers on Instagram, over 34,000 followers on Twitter,
   11 and nearly 100,000 subscribers on its YouTube channel.8 Fraresso Decl., Exs. D-G.
   12 The DRL’s races are broadcast by traditional sports media channels, with
   13 Horbaczewski admitting that “55 million people worldwide watched the inaugural
   14 DRL World Championship Season on TV while 100 million watched online.” Dkt.
   15 No. 106-5; Fraresso Decl., Ex. A (Digiday article). The DRL has forged investment
   16 and business ties with various investors, partners, and sponsors.9 Dkt. No. 106-5 at
   17 2-3; see also Dkt. No. 90, ¶ 40 (“DRL announced that it had completed a round of
   18 funding in which it received $20 million in private placement led by a number of
   19
        8
   20    DRL’s YouTube videos have been viewed over 10 million times since 2015.
        Fraresso Decl., Ex. G (DRL’s YouTube page—the About section).
   21   9
          Although courts have weighed whether a party is a public corporation or a
   22   privately held entity as part of a public interest analysis, courts have also declined to
        draw a brightline rule as to how many investors or shares satisfies the public interest
   23
        requirement. See, e.g., ComputerXpress, 93 Cal.App.4th at 1007-1008 (an unknown
   24   number of shareholders with outstanding shares “vary[ing] from 12,000,000 to
        24,000,000”; public interest found); Troy Group, 364 F.Supp.2d at 1154 (“although
   25
        [courts] did refer to companies’ numerous outstanding shares, in neither case did the
   26   court establish a strict cut-off on the number of shareholders required for a
        company’s transactions to be of public interest” and rejecting the plaintiff’s
   27
        argument that the number of shareholders distinguished precedent). Here, DRL has
   28   millions of issued shares (see, e.g., Fraresso Decl., Ex. B).
        2613.000/1361866.10                         11                 Case No. 2:17-cv-06210-JAK (KSx)
                    KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                  PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 19 of 35 Page ID #:2163




    1 significant telecommunications and media companies.”); Fraresso Decl., Ex. C
    2 (https://thedroneracingleague.com/). Moreover, the DRL’s purpose—of becoming
    3 the “the Formula 1, NASCAR and MotoGP of drone racing”—along with its
    4 numerous broadcast media alliances and sponsors (e.g., ESPN, Fox Sports, Sky
    5 Sports) underscores the fact that the DRL is a matter of public interest because the
    6 DRL made it so. See Dkt. No. 106-5. That the DRL (and by extension
    7 Horbaczewski) made itself into a matter of public concern should be beyond
    8 reasonable debate. See Global Telemedia, 132 F.Supp.2d at 1265 (noting that
    9 SLAPP plaintiff company generated over 30,000 postings in an unregulated
   10 chatroom); Troy Group v. Tilson, 364 F.Supp.2d 1149, 1154 (C.D. Cal. 2005)
   11 (finding that SLAPP plaintiff company was a matter of public interest due to “press
   12 releases in its efforts to promote [itself], the stock” and other transactions,
   13 notwithstanding the limited number of actual investors); Ampex, 128 Cal.App.4th at
   14 1577 (“Ampex inserted itself into the public area via press releases issued by the
   15 company and made available on the Internet.”).
   16         Accordingly, because the DRL has and continues to promote itself via press
   17 releases, media appearances, and social media, and taking into account the size of
   18 the DRL’s media reach, Court should find that the DRL and Horbaczewski are
   19 matters of public interest for purposes of section 425.16, and that Kanes has
   20 satisfied his burden under prong one of the anti-SLAPP statute. Indeed, DRL and
   21 Horbaczewski cannot credibly argue otherwise for if the DRL were not a matter of
   22 public interest, its entire business model would be undermined.
   23                3.    The Gravamen of Horbaczewski’s Counterclaim is the
                           Instant Suit
   24
   25         To determine whether a cause of action is based on protected activity, courts
   26 “examine the principal thrust or gravamen of a plaintiff’s cause of action to
   27 determine whether the anti-SLAPP statute applies.” Okorie, 14 Cal.App.5th at 591
   28 (citing Ramona Unified School Dist. v. Tsiknas, 135 Cal.App.4th 510, 519-520 (Cal.
      2613.000/1361866.10                     12               Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 20 of 35 Page ID #:2164




    1 Ct. App. 2005) (italics in original)). The gravamen is assessed by identifying the
    2 allegedly wrongful and injury-producing conduct that provides the foundation for
    3 the claim. Okorie, 14 Cal.App.5th at 586.
    4         Although Horbaczewski tries to frame his Counterclaim as concerning Kanes’
    5 edits to the Wikipedia Entry, it is clear that what Horbaczewski actually takes issue
    6 with are the statements in the pleadings filed in this litigation. See Dkt. No. 90
    7 (Counterclaim) at ¶¶ 47, 48, 56. Indeed, none of the language that Horbaczewski
    8 complains about (e.g., “secretly cutting them out of the company,” “[t]he truth was
    9 that Horbaczewski intended to steal plaintiffs’ ideas and the entire DRL for
   10 himself,” “a cynical plot to steal their ideas for a televised drone racing league,
   11 claim all credit for himself, and cheat them out of their rightful ownership of two-
   12 thirds of the Drone Racing League”) appears in the Wikipedia Entry itself. See Dkt.
   13 No. 90, ¶ 47; Dkt. No. 90-1 (Wikipedia Entry) at 3. Rather, those words only appear
   14 in the third party law.com article written about this lawsuit.10 The law.com article
   15 summarizes plaintiffs’ claims using the third party author’s own words11, or quotes
   16 directly from the then-operative First Amended Complaint. Compare Dkt. Nos. 13
   17 (First Amended Complaint) and 90-2 (Law.com article). Indeed, the gravamen of
   18 the entire Counterclaim concerns statements made by the plaintiffs in the First
   19 Amended Complaint, not the Wikipedia Entry.
   20         The constitutional right of petition encompasses filing a complaint and
   21 statements made during litigation. Navellier, 29 Cal.4th at 90; Kashian, 98
   22 Cal.App.4th at 908 (“Filing a lawsuit is an exercise of one’s constitutional right of
   23
   24   10
        The law.com article also contains Horbaczewski’s counsel’s, as well as DRL’s,
   25 “vehement” denials of plaintiffs’ allegations. See Dkt. No. 90-2 at 3.
   26   11
         The quote “[i]nstead, Horbaczewski absorbed their ideas for making drone racing
      compelling TV while secretly cutting them out of the company, they allege” appears
   27
      to be the law.com author’s summary of plaintiffs’ claims. See Dkt. No. 90-2 at 3.
   28 Kanes cannot be liable for a third party’s characterization of this litigation.
      2613.000/1361866.10                       13                Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 21 of 35 Page ID #:2165




    1 petition, and statements made in connection with or in preparation of litigation are
    2 subject to section 425.16.”). What constitutes protected speech must be broadly
    3 construed. Cal. Civ. Proc. Code § 425.16(a). Thus, the statements made by Kanes
    4 and Laub in their complaint—which were quoted in the law.com article—are
    5 protected speech under section 425.16.
    6         B.     Prong Two: Horbaczewski Cannot Demonstrate a Likelihood of
                     Succeeding on His Defamation Counterclaim
    7
    8         Because Kanes satisfies prong one of the anti-SLAPP analysis, Horbaczewski
    9 must establish that his Counterclaim is likely to succeed. Horbaczewski cannot do
   10 so and the Court should strike his Counterclaim in its entirety.
   11                1.    Kanes’ Edits to the DRL Wikipedia Entry Were Not
                           Defamatory
   12
                           a.     The Edited Wikipedia Text was not Defamatory
   13
   14         Horbaczewski asserts a single Counterclaim for defamation per se based on
   15 written edits to the Wikipedia Entry for the DRL. Dkt. No. 90, ¶¶ 54-63.
   16 Accordingly, Horbaczewski’s counterclaim is a claim for libel per se. See also Dkt.
   17 No. 99 (Kanes’ Motion to Dismiss) at 12-13.
   18         The California Civil Code § 45 defines libel as: “[A] false and unprivileged
   19 publication by writing… which exposes any person to hatred, contempt, ridicule, or
   20 obloquy, or which cases him to be shunned or avoided, or which has a tendency to
   21 injure him in his occupation.” The elements of a defamation claim are: “(1) a
   22 publication that is (2) false, (3) defamatory, (4) unprivileged, and (5) has a natural
   23 tendency to injure or cause special damage.” J-M Manufacturing Co., Inc. v.
   24 Phillips & Cohen LLP, 247 Cal.App.4th 87, 97 (Cal. Ct. App. 2016). A party’s
   25 claim that certain statements are defamatory will fail if such statements are not
   26 reasonably susceptible to being interpreted as defaming the party. See, e.g., Knievel
   27 v. ESPN, 393 F.3d 1068, 1073-1074 (9th Cir. 2005); Norse v. Henry Holt and Co.,
   28 991 F.2d 563, 567 (9th Cir. 1993). Whether a statement is reasonably susceptible to
      2613.000/1361866.10                     14                Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 22 of 35 Page ID #:2166




    1 a defamatory meaning is made from the perspective of an ordinary reader taking
    2 into account the entire context in which the statement was made. MacLeod v.
    3 Tribune Pub. Co., 52 Cal.2d 536, 546-547 (Cal. 1959); Norse, 991 F.2d at 567; J-M
    4 Manufacturing, 247 Cal.App.4th at 100 (defamation actions cannot be based on
    5 snippets taken out of context because context can dull even the most volatile
    6 language). If no reasonable ordinary reader would perceive a meaning which tended
    7 to injure a person’s reputation, no libel can be found. Barnes-Hind, Inc. v. Sup. Ct.,
    8 181 Cal.App.3d 377, 386 (Cal. Ct. App. 1986).
    9         Horbaczewski complains about three edits to the Wikipedia Entry: (1) a
   10 statement that Kanes and Laub were cofounders of the DRL; (2) a statement that
   11 Kanes “wrote and created the original concept” for the DRL; and (3) a statement
   12 that “Horbaczewski first heard of the concept of Drone Racing League from Dan
   13 Kanes, who had written a detailed pitch deck for the league.” Dkt. No. 90, ¶ 55.
   14 None of these statements exposes Horbaczewski to “hatred, contempt, ridicule, or
   15 obloquy” or has a tendency to cause him to “be shunned or avoided, or which has a
   16 tendency to injure him in his occupation.” See Cal. Civ. Code. § 45. Indeed, none of
   17 these statements suggests that Horbaczewski has committed a crime or done
   18 anything improper or unethical. None of the statements attacks Horbaczewski’s
   19 character, morals, or actions, and do not belittle Horbaczewski or his contributions
   20 to the DRL. Rather, the statements can only be reasonably interpreted as setting
   21 forth Kanes’ and Laub’s contributions to the founding of the DRL. Horbaczewski’s
   22 Counterclaim fails to explain how an ordinary reader of the statements could
   23 reasonably perceive them as attacks on Horbaczewski’s reputation. Barnes-Hind,
   24 181 Cal.App.3d at 386.
   25         Lin v. Rohm and Haas Co., 293 F.Supp.2d 505 (E.D. Pa. 2003) demonstrates
   26 that Horbaczewski’s claim has no merit. In Lin, the plaintiff, the alleged “sole
   27 inventor” of a device, sued alleging that her former employer defamed her by
   28 submitting a patent application which “listed multiple co-inventors” whom she
      2613.000/1361866.10                      15                Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 23 of 35 Page ID #:2167




    1 alleged “did not contribute to the invention.” Id. at 519. The court dismissed
    2 plaintiff’s claim as a matter of law. Id. at 520.
    3            As the Lin court noted, a defamation claim only sounds if “the
    4 communication complained of is capable of a defamatory meaning”—i.e., “it tends
    5 to harm the individual’s reputation so as to lower him in the estimation of the
    6 community or deter third persons from associating or dealing with him.” Id. at 519.
    7 The mere fact that a plaintiff “did not receive all of the credit she alleges she
    8 deserves” or was forced to share credit with others who “did not contribute” does
    9 not “lower [the plaintiff] in the estimation of the community or deter third persons
   10 from associating or dealing with [the plaintiff].” Id. at 519-520. This is not
   11 defamation, and the law does not provide any remedy for such bruised egos. Id.
   12            Here, Kanes’ edits to the Wikipedia Entry add statements regarding Plaintiffs’
   13 contributions to the founding of the DRL. Simply because such edits “fail to
   14 advance [Horbaczewski’s] reputation” as much as he would like does not make the
   15 statements defamatory. Id.; see also J-M Manufacturing, 247 Cal.App.4th at 97.
   16 Accordingly, statements that Plaintiffs are co-founders of the DRL and that Kanes
   17 conceived of the DRL are not reasonably susceptible to a defamatory meaning.
   18            The third statement—that Horbaczewski first heard of the concept for DRL
   19 from Kanes—is also not defamatory. Horbaczewski does not explain how such a
   20 statement could conceivably defame him. Indeed, Horbaczewski does not claim to
   21 have invented the sport of organized drone racing. See, e.g., Dkt. No. 90, ¶¶ 11-12;
   22 Dkt. No. 106-6 at 2 (Business Insider article) (“It was in a field behind a warehouse
   23 in Long Island, New York that founder and chief executive of the Drone Racing
   24 League (DRL) Nick Horbaczewski first saw a drone race back in 2015.”); Dkt.
   25 No. 106-8 at 3 (TechCrunch article) (“As a refresher, Drone Racing League was
   26 founded in 2015 to capitalize on the trend of amateur drone racing.”). Thus, the third
   27 statement—like the first two statements at issue—cannot be found to be defamatory.
   28            Further, libel per se requires a defamatory meaning that is apparent to a
        2613.000/1361866.10                           16             Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 24 of 35 Page ID #:2168




    1 reader from the language itself without the need for explanation or extrinsic facts.
    2 MacLeod, 52 Cal.2d at 548-549; Barnes-Hind, 181 Cal.App.3d at 384-385, 387. To
    3 establish libel per se, the defamatory nature of the statement must be as apparent to
    4 the Court as it is to the ordinary reader. Barnes-Hind, 181 Cal.App.3d at 387. Here,
    5 the defamatory nature of the statements that Horbaczewski complains of is apparent
    6 to no one. There is no support for Horbaczewski’s allegation that Kanes’ edits to the
    7 Wikipedia Entry “would cause readers to believe that Mr. Horbaczewski is lying
    8 about founding DRL by himself and that he stole the concept for DRL from
    9 Plaintiffs and cheated them out of an ownership share.” Dkt. No. 90, ¶ 57. The
   10 Wikipedia Entry says nothing about theft or ownership and a reasonable reader
   11 would not interpret the Wikipedia Entry to be defamatory as alleged. Moreover, the
   12 founding of the DRL—and whether it was team effort or a solo labor—is not a fact
   13 that is widely known to an ordinary reader of the Wikipedia Entry. Accordingly,
   14 Horbaczewski’s Counterclaim fails.12 Barnes-Hind, 181 Cal.App.3d at 386-387.
   15                        b.     The Law.com Article Was Not Defamatory
   16          Kanes cannot be liable for the law.com article but the law.com article is not
   17 defamatory in any event. Infra, § B.2. Horbaczewski cherry-picks various
   18 statements from the law.com article and presents them as defamatory, without an
   19 acknowledgement of the context in which those statements were made. See Dkt.
   20
        12
           The law recognizes two species of defamation, libel per se and libel per quod.
   21
        McGarry v. Univ. of San Diego, 154 Cal.App.4th 97, 111 (Cal. Ct. App. 2007).
   22   Libel per se occurs where the defamatory nature of the defendant’s statement is
        patently evident and would be understood by the general public “without the need
   23
        for explanatory matter.” Id. In contrast, “if the listener would not recognize the
   24   defamatory meaning without knowledge of specific facts and circumstances,
        extrinsic to the publication, which are not matters of common knowledge rationally
   25
        attributable to all reasonable persons . . . the matter is deemed defamatory per quod.
   26   Id. Here, Horbaczewski’s Counterclaim alleges libel per se. But even if his
        Counterclaim were construed to allege libel per quod, he still fails because such a
   27
        claim requires “pleading and proof of special damages.” Id. Horbaczewski’s
   28   Counterclaim alleges no such damages.
        2613.000/1361866.10                          17                Case No. 2:17-cv-06210-JAK (KSx)
                    KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                  PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 25 of 35 Page ID #:2169




    1 No. 90, ¶¶ 47-48, 56. Horbaczewski’s approach is legally unsound.
    2         To support a finding that a writing is defamatory, the Court should consider
    3 the entire context of the allegedly defamatory material. MacLeod, 52 Cal.2d at 547;
    4 Norse, 991 F.2d at 567; Troy Group, 364 F.Supp.2d at 1156 (“It is easy to see that
    5 context can dull the literal meaning of even the most volatile language.”). Out-of-
    6 context statements cannot support a finding of defamation where the context makes
    7 clear the non-defamatory nature of the statements at issue. J-M Manufacturing, 247
    8 Cal.App.4th at 100; see also Knievel, 393 F.3d at 1074.
    9         Even a cursory review of the law.com article confirms it is not defamatory.
   10 The law.com article (Dkt. No. 90-2) is merely a summary of the First Amended
   11 Complaint in this litigation.13 Not only does the article ascribe the various
   12 statements at issue to plaintiffs and their counsel, but the article also includes DRL’s
   13 and its counsel’s “vehement” denials. Dkt. No. 90-2 at 2-3. The article makes no
   14 assertion regarding the truth or falsity of either side’s statements and is not
   15 reasonably subject to a defamatory meaning. MacLeod, 52 Cal.2d at 547; Norse, 991
   16 F.2d at 567. To be certain, this is a case where the context dulls the literal meaning
   17 of the cherry-picked language. Troy Group, 364 F.Supp.2d at 1156; see also
   18 Knievel, 393 F.3d at 1074 (context clarified that allegedly libelous language was
   19 meant to be complimentary).
   20         More telling is the fact that Horbaczewski has not sued law.com or the
   21 article’s author for defamation, which has been accessible to the public since late
   22 2017. Having failed to do so, or at a minimum demanded a retraction, it is clear that
   23
        13
   24      In any event, the statements made in Plaintiff’s pleadings are protected by
        California’s absolute litigation privilege, Civil Code § 47(b), which extends to “any
   25
        communication (1) made in judicial or quasi-judicial proceedings … that ha[s] some
   26   connection or logical relation to the action.” Rusheen, 37 Cal.4th at 1057. The
        privilege is absolute and broadly applied, regardless of any malice. Jacob B. v.
   27
        County of Shasta, 40 Cal.4th 948, 955 (Cal. 2007) (applying privilege to any
   28   publication required or permitted by law in the course of a judicial proceeding).
        2613.000/1361866.10                         18              Case No. 2:17-cv-06210-JAK (KSx)
                    KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                  PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 26 of 35 Page ID #:2170




    1 Horbaczewski cannot find any defamatory material in the law.com article itself.
    2                         2.   Kanes Is Immune From Liability for Linking the Law.com
                                   Article
    3
    4            Federal law immunizes Kanes from liability for hyperlinking the law.com
    5 article in a footnote of the Wikipedia Entry. In the Communications Decency Act of
    6 1996, Congress declared: “No provider or user of an interactive computer service
    7 shall be treated as the publisher or speaker of any information provided by another
    8 information content provider.” 47 U.S.C. § 230(c)(1). “No cause of action may be
    9 brought and no liability may be imposed under any State or local law that is
   10 inconsistent with this section.” 47 U.S.C. § 230(e)(3). In Barrett v. Rosenthal, the
   11 California Supreme Court applied the immunity conferred by the statute to
   12 individual users like Kanes. Barrett, 40 Cal.4th at 58-62. In Barrett, the SLAPP
   13 defendant, an individual, had reposted articles written by others that the plaintiffs
   14 had found objectionable on several Internet newsgroups. Id. at 41. The Barrett
   15 plaintiffs sued for defamation, and the defendant moved to strike the complaint
   16 under the anti-SLAPP statute. Id. at 40. The California Supreme Court also held that
   17 a “[u]ser plainly refers to someone who uses something, and the statutory context
   18 makes it clear that Congress meant someone who uses an interactive computer
   19 service.” Id. at 58-59. The Court noted that the statute defined “interactive computer
   20 service” as “any information service, system, or access software provider that
   21 provides or enables computer access by multiple users to a computer server,
   22 including specifically a service or system that provides access to the internet” and
   23 that the statute specifically referred to individuals. Id. at 59; 47 U.S.C. §§ 230(a)(2),
   24 (b)(3). Accordingly, the Court found that:
   25            The statutory immunity serves to protect online freedom of expression and to
                 encourage self-regulation, as Congress intended. Section 230 has been
   26            interpreted literally. It does not permit Internet service providers or users to be
   27            sued as “distributors,” nor does it expose “active users” to liability.

   28            Plaintiffs are free under section 230 to pursue the originator of a defamatory
        2613.000/1361866.10                          19                 Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 27 of 35 Page ID #:2171




    1           Internet publication. Any further expansion of liability must await
                congressional action.
    2
      Barrett, 40 Cal.4th at 63.
    3
                Kanes used the Internet to edit Wikipedia to include a hyperlink to the
    4
      law.com article that originated with someone else. Therefore, Kanes is immune from
    5
      any liability for defamation related to adding a hyperlink to the law.com article.
    6
      Barrett, 40 Cal.4th at 60; 47 U.S.C. § 230(c)(1).
    7
                Additionally, Kanes is not liable for adding a hyperlink to the law.com article
    8
      because linking does not constitute republication as a matter of law. Publication is
    9
      an essential element of a libel claim. Cal. Civ. Code § 45; J-M Manufacturing, 247
   10
      Cal.App.4th at 97. California adheres to the single publication rule that deems a
   11
      publication to occur when a writing is first generally distributed to the public.
   12
      Shively v. Bozanich, 31 Cal.4th 1230, 1245-47 (Cal. 2003). Subsequent distributions
   13
      of the same article do not constitute a distinct publication capable of supporting a
   14
      claim for libel. Id.; Sundance Image Tech., Inc. v. Cone Editions Press, Ltd., Case
   15
      No. 02-CV-2258, 2007 WL 935703 at *6 (S.D. Cal., Mar. 7, 2007).
   16
                Here, Horbaczewski alleges that Kanes edited the Wikipedia Entry to include
   17
      a footnoted hyperlink that “links the reader to an article on Law.com entitled ‘Drone
   18
      Racing League Was Our Idea, Tech Enthusiasts Say.’” Dkt. No. 90, ¶ 47. But it is
   19
      well-settled law that simply including a link does not republish the original article.
   20
      Sundance Image Tech., 2007 WL 935703 at *7 (“[T]he court finds that such linking
   21
      is more reasonably akin to the publication of additional copies of the same edition of
   22
      a book, which is a situation that does not trigger the republication rule.”); In re
   23
      Philadelphia Newspapers, LLC, 690 F.3d 161, 175 (3rd Cir. 2012) (“[T]hough a
   24
      link and reference may bring readers’ attention to the existence of an article, they do
   25
      not republish the article.”); U.S. ex rel Klein v. Omeros Corp., 897 F.Supp.2d 1058,
   26
      1074 (W.D. Wa. 2012) (“[a] mere reference does not directly publish the
   27
      defamatory material to a new audience. Instead, it tells the new audience where the
   28
      2613.000/1361866.10                           20                Case No. 2:17-cv-06210-JAK (KSx)
                    KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                  PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 28 of 35 Page ID #:2172




    1 defamatory material can be found… [A URL] tells the reader the address where she
    2 can find the material on the Web” and finding that “mere reference or URL is not a
    3 publication of the contents of the materials referred to.”); Salyer v. Southern Poverty
    4 Law Center, Inc., 701 F.Supp.2d 912, 918 (W.D. Ky. 2009) (finding that hyperlinks
    5 did not restate the allegedly defamatory statements and did not alter the substance of
    6 the linked article). Accordingly, Horbaczewski cannot premise his Counterclaim on
    7 the inclusion of the link to the law.com article.
    8                3.    Horbaczewski Is a Limited Purpose Public Figure Who
                           Cannot Prove Kanes’ Edits to the Wikipedia Entry Were
    9                      Made With Actual Malice as Required to Establish a Claim
                           for Defamation
   10
   11         Assuming, arguendo, that Horbaczewski manages to demonstrate that Kanes’
   12 edits to the Wikipedia Entry were factually erroneous (they were not),
   13 Horbaczewski still fails to demonstrate that he is likely to prevail on his defamation
   14 Counterclaim. Horbaczewski is a public figure who must set forth clear and
   15 convincing evidence of actual malice on Kanes’ part in making the edits to the
   16 Wikipedia Entry to prevail on his defamation claim.
   17         The First Amendment commands that “[a] public figure may not recover
   18 damages for a defamatory falsehood without clear and convincing proof that the
   19 false ‘statement was made with actual malice—that is, with [actual knowledge] that
   20 it was false or with reckless disregard of whether it was false or not.’” Harte-Hanks
   21 Commun., Inc. v. Connaughton, 491 U.S. 657, 659 (1989) (quoting New York Times
   22 Co. v. Sullivan, 376 U.S. 254, 279-280 (1964); accord Reader’s Digest Assoc., Inc.
   23 v. Sup. Ct. of Marin County, 37 Cal.3d 244, 266 (Cal. 1984) (finding no evidence of
   24 actual malice, and no liability, where plaintiff public figure complained of
   25 inaccuracies in an article written by defendants).
   26         Gertz v. Robert Welch, Inc., 418 U.S. 323 (1974) recognized two different
   27 categories of public figures. Id. at 351. “The first is the ‘all purpose’ public figure
   28 who has ‘achiev[ed] such pervasive face or notoriety that he becomes a public figure
      2613.000/1361866.10                     21                 Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 29 of 35 Page ID #:2173




    1 for all purposes and in all contexts.’” Annette F. v. Sharon S., 119 Cal.App.4th 1146,
    2 1163 (Cal. Ct. App. 2004) (quoting Gertz, 418 U.S. at 351). The second type “is the
    3 ‘limited purpose’ or ‘vortex’ public figure who ‘voluntarily injects himself or is
    4 drawn into a particular public controversy and thereby becomes a public figure for a
    5 limited range of issues.” Annette F., 119 Cal. App. 4th at 1164 (quoting Gertz, 418
    6 U.S. at 345). “A plaintiff can do so [simply] by discussing [a] matter with the press
    7 or by being quoted by the press, thus thrusting himself into the vortex of a public
    8 issue.” Rudnick v. McMillan, 25 Cal.App.4th 1183, 1190 (Cal. Ct. App. 1994).
    9         Whether a party is a public figure is a question of law which is crucial to the
   10 proper resolution of a libel claim. Reader’s Digest, 37 Cal.3d at 252; Curtis
   11 Publishing Co. v. Butts, 388 U.S. 130 (1967). “[P]ublic figures are generally less
   12 vulnerable to injury from defamation because of their ability to resort to effective
   13 ‘self help’” and the fact that such figures typically enjoy “greater access than private
   14 individuals to the media and other channels of communication.” Reader’s Digest, 37
   15 Cal.3d at 253 (discussing Gertz, 418 U.S. 323). More importantly, public figures
   16 “are less deserving of protection than private persons because public figures … have
   17 ‘voluntarily exposed themselves to increased risk of injury from defamatory
   18 falsehood concerning them.” Gertz, 418 U.S. at 345. In determining whether an
   19 individual is a public figure, courts look for evidence of affirmative actions by
   20 which the individual has thrust himself or herself into the public eye, and consider
   21 the totality of the circumstances comprising an individual controversy. Reader’s
   22 Digest, 37 Cal.3d at 254-255 (finding that plaintiff organization and founder had
   23 thrust themselves into the public eye via myriad attempts to promote their case and
   24 their business in general). “While any person or organization has the right to engage
   25 in publicity efforts and to attempt to influence the public and media opinion
   26 regarding their cause, such significant, voluntary efforts to inject oneself into the
   27 public arena require that such a person or organization to be classified as a public
   28 figure in any related defamation actions.” Id. at 256 (plaintiffs’ sponsorship of
      2613.000/1361866.10                       22                 Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 30 of 35 Page ID #:2174




    1 “massive publicity and self-promotion efforts over a period of many years” had
    2 “voluntarily exposed themselves to increased risk of injury from unfavorable
    3 commentary about them”).
    4         It is well-settled that those who make “the voluntary decision to pursue a
    5 career in sports” renders such persons “at least limited purpose public figures.”
    6 McGarry, 154 Cal.App.4th at 115. This principle is not limited to the big-four
    7 legacy leagues—the NFL, MLB, NBA, and NHL. Chapman v. Journal Concepts,
    8 Inc., 528 F.Supp.2d 1081 (D. Haw. 2007) (finding plaintiff was a “public figure”
    9 with respect to “a subsection of the surfing community, namely mature (over 40
   10 years of age) surfing enthusiasts”).
   11         Rather, the public-figure designation implicates individuals who participate in
   12 the creation and promotion of new sports ventures. For example, in Silvester v. ABC,
   13 Inc., 650 F.Supp. 766 (S.D. Fla. 1986), the court found that the “president and
   14 majority shareholder” of Florida professional jai alai league and his league both
   15 constituted limited purpose public figures. Id. at 768. The court found that the
   16 president and his league “voluntarily injected themselves into … public
   17 controversies surrounding their own jai alai businesses and thereby became public
   18 figures for this limited range of issues.” Id. at 777. This finding stemmed from the
   19 fact that the plaintiff and his league “chose to engage in professional sports” and
   20 “promoted their business ventures in the hearty spirit of capitalism.” Id. at 776.
   21 Importantly, the Silvester plaintiffs achieved public-figure status based on the
   22 league’s sheer “attendance” despite failing to secure lucrative contracts for
   23 television coverage enjoyed by more prominent sports leagues. Id. at 774.
   24         Here, both the DRL and Horbaczewski likewise “voluntarily injected
   25 themselves into … public controversies surrounding their own [drone racing]
   26 businesses” by the sheer fact of “[choosing] to engage in professional sports” and by
   27 “promot[ing] their business ventures in the hearty spirit of capitalism.” See id. at
   28 776–777. They engaged in a years-long media campaign to promote themselves and
      2613.000/1361866.10                   23               Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 31 of 35 Page ID #:2175




    1 drone racing in general via press releases, newsletters, media appearances, videos,
    2 and social media presence. See, e.g., Fraresso Decl., Ex. H. Horbaczewski has been
    3 interviewed and profiled numerous times. Id. Accordingly, the Court should find
    4 that Horbaczewski is a public figure. Reader’s Digest, 37 Cal.3d at 254-255.
    5            Because Horbaczewski is a public figure, he can only prevail on his
    6 Counterclaim if he can demonstrate, by clear and convincing evidence, actual
    7 malice on Kanes’ part. Id. at 256 (citing New York Times, 376 U.S. at 285-286).
    8 Actual malice is “knowledge that [an allegedly libelous statement] was false or with
    9 reckless disregard of whether it was false or not.” Id. (citing New York Times, 376
   10 U.S. at 279-280). To find that a defendant recklessly disregarded the truth or falsity
   11 of a statement, courts must find “sufficient evidence to permit the conclusion that
   12 the defendant in fact entertained serious doubts as to the truth of his publication.
   13 Publishing with such doubts shows disregard for truth or falsity and demonstrates
   14 actual malice.” Id. at 256-257 (quoting St. Amant v. Thompson, 390 U.S. 727, 731
   15 (1968)). This is a subjective test from the defendant’s viewpoint as to his or her
   16 belief concerning the truthfulness of the statement. Id. at 257 (“the defendant’s
   17 actual belief concerning the truthfulness of the publication is the crucial issue.”).
   18 Indeed, Horbaczewski recognizes that he must demonstrate actual malice in order to
   19 prevail. Dkt. No. 90 (Counterclaim) at ¶ 60 (“Mr. Kanes acted with malice when he
   20 published these statements on Wikipedia. He knew that the statements were false
   21 and acted with reckless disregard as to their falsity, and was motivated by ill will in
   22 publishing them, hoping to damage Mr. Horbaczewski’s reputation.”).
   23            But Horbaczewski cannot demonstrate any evidence of malice, let alone by
   24 clear and convincing evidence. On the contrary, Kanes’ testimony confirms that he
   25 had no doubt of his contributions to the founding of the DRL, and that his edits to
   26 the Wikipedia Entry were simply to set the record straight:
   27                    Q. Why did you modify the Wikipedia entry for the DRL?
   28                    A. Because I thought it would be reasonable and fair for the world to
        2613.000/1361866.10                           24               Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 32 of 35 Page ID #:2176




    1         know that I’m the original creator of the Drone Racing League concept.
                    ...
    2
                    Q. . . . Why did you need to let the world – why did you need to attach
    3         the article to the Wikipedia entry?
                    Why did you need to link to the article in the Wikipedia entry if your
    4         purpose was just to let the world know that you were the one that came up
    5         with the concept?
                    A. Yeah, my belief and understanding when I went to edit the
    6         Wikipedia page, which is not before us today, but I’m well aware that I did
              edit the Wikipedia page.
    7               You have to cite some sort of published article or reference material that
    8         may state that information is possibly true so that there’s a foundational
              relationship between a published article and an assertion on a Wikipedia page
    9         so that people don’t just randomly make things up.
   10 Fraresso Decl., Ex. I (Nov. 27, 2018 Kanes Dep. Tr. at 315:11-16, 316:1-17); see
   11 also Dkt. No. 31-20 (Kanes Declaration), ¶ 7 (discussing Plaintiffs’ contributions to
   12 the DRL).
   13         Kanes believes that his edits to the Wikipedia Entry were truthful, and
   14 Horbaczewski’s Counterclaim fails. Reader’s Digest, 37 Cal.3d at 257.
   15         C.     Kanes Is Statutorily Entitled to His Attorneys’ Fees and Costs
   16         Because Kanes, as the SLAPP defendant, has demonstrated that the conduct
   17 that Horbaczewski complains about in his Counterclaim is protected under
   18 California’s anti-SLAPP statute, and Horbaczewski cannot demonstrate a likelihood
   19 of success on the merits of his Counterclaim, the Court should strike the
   20 Counterclaim in its entirety. Accordingly, Kanes is entitled to recover his attorneys’
   21 fees and costs in connection with bringing the instant motion. Cal. Code of Civ.
   22 Proc. § 425.16(c); S.B. Beach Properties, 39 Cal.4th at 377; Vess, 317 F.3d at 1110-
   23 1111. Kanes intends to submit a full accounting of his fees and costs incurred in
   24 connection with this special motion to strike following the Court’s ruling.
   25 V.      CONCLUSION
   26         Horbaczewski’s Counterclaim relates to protected activity and is meritless.
   27 For the foregoing reasons, the Court should strike Horbaczewski’s Counterclaim in
   28 its entirety and award Kanes his attorneys’ fees and costs in bringing this motion.
      2613.000/1361866.10                      25                 Case No. 2:17-cv-06210-JAK (KSx)
                   KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                 PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 33 of 35 Page ID #:2177




    1 DATED: January 18, 2019                   Respectfully submitted,
    2
                                                BARTKO ZANKEL BUNZEL & MILLER
    3                                           A Professional Law Corporation
    4
    5
                                                By:         /s/ Patrick M. Ryan
    6
                                                      Patrick M. Ryan
    7                                                 Attorneys for Plaintiffs
    8                                                 JUSTICE LAUB and DAN KANES

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        2613.000/1361866.10                           26             Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 34 of 35 Page ID #:2178




    1                                     PROOF OF SERVICE
    2                            Laub v. Horbaczewski, et al.
             USDC, Central District of California Case No. 2:17-cv-06210 JAK (KSx)
    3
    4        At the time of service, I was over 18 years of age and not a party to this
      action. My business address is One Embarcadero Center, Suite 800, San Francisco,
    5 CA  94111.
    6        On January 18, 2019, I served a true copy of the following document(s)
      described as PLAINTIFF DANIEL KANES’ NOTICE OF MOTION AND
    7 SPECIAL MOTION TO STRIKE DEFENDANT NICHOLAS
    8 HORBACZEWSKI’S COUNTERCLAIM PURSUANT TO CALIFORNIA
      CODE OF CIVIL PROCEDURE § 425.16 on the interested parties in this action
    9 as follows:
   10                               SEE ATTACHED SERVICE LIST
   11        BY E-MAIL OR ELECTRONIC TRANSMISSION: I caused a copy of
      the document(s) to be sent from e-mail address spearson@bzbm.com to the persons
   12 at the e-mail addresses listed in the Service List. I did not receive, within a
   13 reasonable time after the transmission, any electronic message or other indication
      that the transmission was unsuccessful.
   14
             BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
   15 the document(s) with the Clerk of the Court by using the CM/ECF system.
      Participants in the case who are registered CM/ECF users will be served by the
   16 CM/ECF system. Participants in the case who are not registered CM/ECF users will
   17 be served by mail or by other means permitted by the court rules.
   18       I declare under penalty of perjury under the laws of the United States of
      America that the foregoing is true and correct and that I am employed in the office
   19 of a member of the bar of this Court at whose direction the service was made.
   20            Executed on January 18, 2019, at San Francisco, California.
   21
   22                                                       /s/ Stephanie D. M. Pearson
   23                                                 Stephanie D. M. Pearson
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        2613.000/1361866.10                          27               Case No. 2:17-cv-06210-JAK (KSx)
                         KANES’ SPECIAL MOTION TO STRIKE HORBACZEWSKI’S COUNTERCLAIM
                                       PURSUANT TO CODE CIV. PROC. § 425.16
Case 2:17-cv-06210-JAK-KS Document 117 Filed 01/18/19 Page 35 of 35 Page ID #:2179




    1                                   SERVICE LIST
                                 Laub v. Horbaczewski, et al.
    2        USDC, Central District of California Case No. 2:17-cv-06210 JAK (KSx)
    3
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